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Attomeys for Plaintiff

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

FLORENCIO PACLEB, INDIVIDUALLY
AND ON BEHALF OF ALL OTHERS
SIl\/IILARLY SITUATED,

Case No.
CLASS ACTION

Plaintiff, COMPLAINT FOR VIOLATIONS OF:
l. NEGLIGENT VIOLATIONS OF
THE TELEPHONE CONSUMER

WoRLD WIDE vACATIoNs, LLC., AND §§C;TEETC§}§%T`]I ACT [47 U-S-C-

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vs. )
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DOES l THROUGH 10, INCLUSIVE, AND § 2_ WILLFUL VIOLATIONS OF
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EACH OF THEM, THE TELEPHONE CONSUMER
PROTECTION ACT [47 U.S.C.

Defendants. §227 ET SEQ.]

DEMAND FOR JURY TRIAL

 

Plaintiff, FLORENCIO PACLEB (“Plaintiff’), on behalf of himself and all others

$imilarly situated, alleges the following upon information and belief based upon personal

knowledge:
NATURE OF THE CASE
l. Plaintiff brings this action for himself and others similarly situated Seeking

damages and any other available legal or equitable remedies resulting from the illegal actions

 

CLASS ACTION COMPLAINT
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C>f WORLD WIDE VACATIONS, LLC., (“Defendant”), in negligently, knowingly, and/or
willfully contacting Plaintiff on Plaintist cellular telephone in violation of the Telephone
Consurner Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s

p)rivacy.

JURISDICTION & VENUE
2. Jurisdiction is proper under 28 U.S.C. § 1332(¢1')(2) because Plaintiff, a resident

cf Valley Village, California, Los Angeles county, seeks relief on behalf of a Class, which will
result in at least one class member belonging to a different state than that of Defendant, a
company with its principal place of business and State of Incorporation in Illinois state.

F’laintiff also seeks up to $1,50().00 in damages for each call in violation of the TCPA, which,

vhen aggregated among a proposed class in the thousands, exceeds the $5,000,000.00
hreshold for federal court jurisdiction Therefore, both diversity jurisdiction and the damages

hreshold under the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court

has jurisdiction

3. Venue is proper in the United States District Court for the Central District of
:alifornia pursuant to 18 U.S.C. 1391 (b) and 18 U.SC. § 1441(0) because Defendant does

business within the state of California and the county of Los Angeles.

PARTIES
4. Plaintiff, FLORENCIO PACLEB (“Plaintiff’), is a natural person residing in
Ialifornia and is a “person” as defined by 47 U.S.C. § 153 (] 0).
5. Defendant, WORLD WIDE VACATIONS, LLC., (“Defendant”), is a “person”

as defined by 47 U.s.C. § 153 (10).

6. The above named Defendant, and its subsidiaries and agents, are collectively

eferred to as “Defendants.” The true names and capacities of the Defendants sued herein as

DOE DEFENDANTS l through lO, inclusive, are currently unknown to Plaintiff, who

herefore sues such Defendants by fictitious names. Each of the Defendants designated herein

as a DOE is legally responsible for the unlawful acts alleged herein. Plaintiff will seek leave of

Court to amend the Complaint to reflect the true names and capacities of the DOE Defendants

 

 

 

CLASS ACTION COMPLAINT
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when such identities become known.
7. Plaintiff is informed and believes that at all relevant times, each and every

Defendant was acting as an agent and/or employee of each of the other Defendants and was

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cting within the course and scope of said agency and/or employment with the full knowledge
and consent of each of the other Defendants. Plaintiff is informed and believes that each of the
acts and/or omissions complained of herein was made known to, and ratified by, each of the
other Defendants.
FACTUAL ALLEGATIONS

8. Plaintiff began receiving numerous automated telephone calls from telephone
number 877-724-5985, look for a “Frank.”

9. Defendant used an “automatic telephone dialing system”, as defined by 47

U.S.C. § 22 7(a) (1) to place its daily calls to Plaintiff seeking to collect the debt allegedly owed

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y Plaintiff.
lO. Defendant’s calls constituted calls that were not for emergency purposes as

defined by 47 U.S.C. § 227(}))(])(/1).

ll.' Defendant’s calls were placed to telephone number assigned to a cellular
telephone service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C, §
227(b)(]).

12. Defendant never received Plaintiff`s “prior express consent” to receive calls

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sing an automatic telephone dialing system or an artificial or prerecorded voice on his cellular

telephone pursuant to 47 U.S.C. § 227([))(])(/1).

CLASS ALLEGATIONS
13. Plaintiff brings this action on behalf of himself and all others similarly situated,
as a member of the proposed class (hereafter “The Class”) defined as follows:
All persons within the United States who received any telephone call/s from
Defendant or its agent/s and/or employee/s to said person’s cellular telephone
made through the use of any automatic telephone dialing system or with an

artificial or prerecorded voice within the four years prior to the filling of the
Complaint.

 

 

 

CLASS ACTlON COMPLAINT
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1 14. Plaintiff represents, and is a member of, The Class, consisting of All persons
2 within the United States who received any collection telephone call from Defendant to said
3 person’s cellular telephone made through the use of any automatic telephone dialing system or
4 artificial or prerecorded voice and such person had not previously not provided their cellular
5 t lephone number to Defendant within the four years prior to the filing of this Complaint.
6 15. Defendant, its employees and agents are excluded from The Class. Plaintiff
7 oes not know the number of members in The Class, but believes the Class members number in
8 t e thousands, if not more. Thus, this matter should be certified as a Class Action to assist in
9 t e expeditious litigation of the matter.
10 16. The Class is so numerous that the individual joinder of all of its members is
ll i practical While the exact number and identities of The Class members are unknown to
12 laintiff at this time and can only be ascertained through appropriate discovery, Plaintiff is
13 i formed and believes and thereon alleges that The Class includes thousands of members
14 laintiff alleges that The Class members may be ascertained by the records maintained by
15 efendant.
16 17. Plaintiff and members of The Class were harmed by the acts of Defendant in at
17 1 ast the following ways: Defendant illegally contacted Plaintiff and Class members via their
18 c llular telephones thereby causing Plaintiff and Class members to incur certain charges or
19 r duced telephone time for which Plaintiff and Class members had previously paid by having to
20 r trieve or administer messages left by Defendant during those illegal calls, and invading the
21 ivacy of said Plaintiff and Class members
22 18. Common questions of fact and law exist as to all members of The Class which
23 predominate over any questions affecting only individual members of The Class. These
24 common legal and factual questions, which do not vary between Class members, and which
25 may be determined without reference to the individual circumstances of any Class members,
26 include, but are not limited to, the following:
27 a. Whether, within the four years prior to the filing of this Complaint,
28 Defendant made any collection call (other than a call made for
CLASS ACTIOJ COMPLAINT

 

 

 

 

 

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emergency purposes or made with the prior express consent of the called
party) to a Class member using any automatic telephone dialing system
or an artificial or prerecorded voice to any telephone number assigned to
a cellular telephone service;

b. Whether Plaintiff and the Class members were damages thereby, and the

extent of damages for such violation; and

c. Whether Defendant should be enjoined from engaging in such conduct in
the future.
19. As a person that received numerous collection calls from Defendant using an

automatic telephone dialing system or an artificial or prerecorded voice, without Plaintiff`s

prior express consent, Plaintiff is asserting claims that are typical of The Class.

20. Plaintiff will fairly and adequately protect the interests of the members of The

Class Plaintiff has retained attorneys experienced in the prosecution of class actions

21. A class action is superior to other available methods of fair and efficient

adjudication of the controversy, since individual litigation of the claims of all Class members is
impracticable Even if every Class member could afford individual litigation, the court system
could not. lt would be unduly burdensome to the courts in which individual litigation of
numerous issues would proceed. Individualized litigation would also present the potential for
varying, inconsistent, or contradictory judgments and would magnify the delay and expense to
all parties and to the court system resulting from multiple trials of the same complex factual
issues By contrast, the conduct of this action as a class action presents fewer management

difficulties conserves the resources of the parties and of the court system, and protects the

ghts of each Class member.

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22. The prosecution of separate actions by individual Class members would create a

isk of adjudications with respect to them that would, as a practical matter, be dispositive of the

interests of the this Class members not parties to such adjudications or that would substantially

mpair or impede the ability of such non-party Class members to protect their interests

23. Defendant has acted or refused to act in respects generally applicable to The

 

 

 

CLASS ACTlON COMPLAINT
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l Class, thereby making appropriate final and injunctive relief with regard to the members of the
2 California Class as a whole.
3 FIRST CAUSE OF ACTION
4 Negligent Violations of the Telephone Consumer Protection Act
5 47 U.S.C. §227 et seq.
6 24. Plaintiff repeats and incorporates by reference into this cause of action the
7 allegations set forth above at Paragraphs 1-33.
8 25. The foregoing acts and omissions of Defendant constitute numerous and
9 multiple negligent violations of the TCPA, including but not limited to each and every one of
10 the above cited provisions of 47 U.S.C. § 227 et seq.
11 26. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq.,
12 Plaintiff and the Class Members are entitled an award of $500.00 in statutory damages, for
13 each and every violation, pursuant to 47 U.S.C. § 22 7(b)(3)(B).
14 27. Plaintiff and the Class members are also entitled to and seek injunctive relief
15 prohibiting such conduct in the future.
16 SECOND CAUSE OF ACTION
17 Knowing and/or Willful Violations of the Telephone Consumer Protection Act
18 47 U.S.C. §227 et seq.
19 (Against All Defendants)
20 28. Plaintiff repeats and incorporates by reference into this cause of action the
21 allegations Set forth above at Paragraphs 1-37.
22 29. The foregoing acts and omissions of Defendant constitute numerous and
23 multiple knowing and/or willful violations of the TCPA, including but not limited to each and
24 every one of the above cited provisions of 47 U.S.C. § 227 et seq.
25 30. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227
26 et seq., Plaintiff and the Class members are entitled an award of $l,500.00 in statutory
27 damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 US.C. §
28 227(b)(3)(C).
CLASS ACTIO6N COMPLAINT

 

 

 

 

 

 

 

 

 

 

 

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1 31. Plaintiff and the Class members are also entitled to and seek injunctive relief

2 prohibiting such conduct in the future.

3 PRAYER FOR RELIEF

4 WHEREFORE, Plaintiff requests judgment against Defendant for the following:

5 FIRST CAUSE OF ACTION

6 Negligent Violations of the Telephone Consumer Protection Act

7 47 U.S.C. §227 et seq.

8 ¢ As a result of Defendant’s negligent violations of 47 U.S.C. § 22 7(1))(] ),

9 Plaintiff and the Class members are entitled to and request $500 in statutory
10 damages for each and every violation, pursuant to 47 U.S.C. § 22 7(1))(3)(B).
11 0 Any and all other relief that the Court deems just and proper.
12 SECOND CAUSE OF ACTION
13 Knowing and/or Willful Violations of the Telephone Consumer Protection Act
14 47 U.S.C. §227 et seq.
15 0 As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. §
16 227(1))(]), Plaintiff and the Class members are entitled to and request treble
17 damages, as provided by statute, up to $l,500, for each and every violation,
18 pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(1))(3)(€).
19 0 Any and all other relief that the Court deems just and proper.
20
21 Respectfully Submitted this 15th Day of December, 2014.
22 LAW OFFICES F T DD M. IEDMAN, P.C.
23
24 Byi . o

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CLASS ACTIO7N COMPLAINT

 

 

 

 

 

